              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CRIMINAL CASE NO. 1:08-cr-00082-MR-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )               ORDER
                                )
VINCENT LAMAR BOULWARE,         )
                                )
                   Defendant.   )
_______________________________ )


      THIS MATTER is before the Court on the Defendant’s “Motion for

Reduction of Sentence under 18 U.S.C. § [3582](c)(2) Pursuant to

Retroactive Amendment 794.” [Doc. 153].

      On May 6, 2009, the Defendant pleaded guilty pursuant to a written

plea agreement to one count of bank robbery, and aiding and abetting the

same, in violation of 18 U.S.C. §§ 2113(a) and 2. [Doc. 66]. At the same

time, the Defendant also pleaded guilty to counts of bank robbery in two other

related cases, Criminal Case No. 1:09-cr-00055-MR-02 and Criminal Case

No. 1:09-cr-00058-MR-03. These matters were consolidated for judgment,

and on July 8, 2010, the Defendant was sentenced to a total term of 188

months’ imprisonment. [Doc. 97]. The Defendant appealed, and on June



   Case 1:08-cr-00082-MR-WCM     Document 154    Filed 01/12/17   Page 1 of 3
15, 2011, the Fourth Circuit Court of Appeals affirmed his conviction and

sentence. [Doc. 125]. The Defendant subsequently filed a motion to vacate

pursuant to 28 U.S.C. § 2255 [Doc. 127], which the Court denied [Doc. 134].

The Defendant filed a second motion to vacate, arguing that retroactive

application of Amendment 794 to U.S.S.G. § 3B1.2 makes him eligible for a

minor role adjustment. [Doc. 151]. On November 28, 2016, the Court

dismissed the Defendant’s § 2255 motion without prejudice to bringing his

claim in a motion for reduction of sentence pursuant to 18 U.S.C. §

3582(c)(2). [Doc. 152]. On December 19, 2016, the Defendant filed the

present motion pursuant to 18 U.S.C. § 3582(c)(2), seeking a reduction of

his sentence based on Amendment 794. [Doc. 153].

     The Sentencing Guidelines Manual does not specify Amendment 794

as a retroactively applicable amendment. See U.S.S.G. § 1B1.10(d) (2015).

Thus, Amendment 794 has no retroactive effect in this § 3582(c)(2)

proceeding.   See United States v. McNeill, __ F. App’x __, 2016 WL

6936472, at *1 (4th Cir. Nov. 28, 2016). Even assuming that Amendment

794 could be applied retroactively, however, it would not affect the

Defendant’s sentence.     Amendment 794 amended the commentary to

U.S.S.G. § 3B1.2 in order to provide a list of non-exhaustive factors for the

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   Case 1:08-cr-00082-MR-WCM    Document 154    Filed 01/12/17   Page 2 of 3
sentencing court to consider in determining whether to apply a mitigating role

adjustment. See U.S.S.G. app. C, amend. 794, at 116. Here, the factual

basis presented in the Presentence Report (“PSR”) makes clear that the

Defendant was more than a minor participant in the subject robberies. In

fact, the PSR notes that the Defendant was the one primarily responsible for

planning the robberies and that he transported his co-defendants to and from

the bank robberies. [Doc. 91 at 7-10]. Thus, Amendment 794 has no bearing

on the Defendant’s case.

      Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

“Motion for Reduction of Sentence under 18 U.S.C. § [3582](c)(2) Pursuant

to Retroactive Amendment 794” [Doc. 153] is DENIED.

      IT IS SO ORDERED.
                               Signed: January 12, 2017




                                        3



   Case 1:08-cr-00082-MR-WCM     Document 154             Filed 01/12/17   Page 3 of 3
